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                       UNITED STATES DISTRICT COURT
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                       NORTHERN DISTRICT OF ILL]NOIS                      APR 3 t}   zorP'
                             EASTERN DIVISION                                 4- Xo-t\
                                                                       THOMASG BRUTON
                                                                    CLERK, U.S, DISTRICT COURT

   PEOPLE OF THE STATE OF ILLINOIS
   ex re!. KWAME RAOUL, Attorney General
   of the State of lllinois,
   Plaintiff,                                          No. 1 :18-cv-2861
   V.                                                  Judge Andrea R. Wood

   SUBURBAN EXPRESS, INC.; ALLERTON
   CHARTER COACH, !NC.; and DENNIS
   TOEPPEN, individually and in his official
   capacity as owner,
   Defendants.

   SUPPLEMENTAL FILING IN SUPPORT OF INNOCENT IDIOMATIC
   USAGE OF ''MSG"

   Plaintiffs have alleged that Defendants'use of "MSG" in describing
   Plaintiff's lawsuit and/or Plaintiff's false, defamatory, misleading and
   deceptive boasting about consent decree constituted making a racist
   statement.

   Plaintiffs further allege that Defendants knew that using MSG to describe
   Plaintiff's lawsuit in communication with WTTW reporter would lead to wide
   dissemination of the supposed racist statement to customers of
   Defendants.

   1.     Defrendant Toeppen struggled to defend his use of MSQ[o des{ibe
   Plaintitf's lawsuit while in court. Defendant was surprised and
   dumbfounded that neither the court nor Plaintiffs readily accepted MSG as
   describing enhancing or amplifying something not related to food.

   2.    Defendant Toeppen failed to relate to court that Defendant makes
   idiomatic use of MSG when describing EDR (extended dynamic range)
   photographs and photographs and video/movie footage which he judges to
   have been unreasonably enhanced or color graded.
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   3.    while perseverating on the MSG matter, Defendant Toeppen on the
   evening of April 26,2019 recalled that his idiomatic use of MSG in the
   photographic realm traces back to a specific email conversation in 2016
   with a friend.

   4.     ln April, 2016, Defendant Toeppen shot 16mm movie fitm, B5mm
   movie film (ie https:/tuimeo.coml24g4g64ag ), 35mm slide film, and digital
   pictures of semaphore signals in chapelle, NM. Upon reviewing said
   photos, Defendant Toeppen wished he had composed the chapelle shots
   ditferently, and he emailed his friend attached photo taken by Jim Crisanti
   (Exhibit A), along with a lesser photo of the same subject, like Exhibit B.
   Defendant Toeppen was primarily interested in composition of the shot, but
   noticed that the color, contrast and gamma of the photograph had been
   altered.

   5.   Defendant Toeppen's friend replied that "crisanti definitely added
   some MSG after the fact." See Exhibit C.

   6.    Defendant Toeppen, finding use of MSG to describe an artered
   photo to be clever and novel, adopted the practice of using MSG to
   describe photos which had been altered.

   7.     Defendant Toeppen asserts that using MSG to describe Plaintiffs'
   lawsuit is consistent with his practice of employing MSG to describe things
   which are artifically enhanced.

   8.    Defendant Toeppen asserts that Plaintiffs' claim that Defendant
  Toeppen knew that uttering MSG comparison to wrTW would necessarily
  result in wide distribution of the statement to customers of Suburban
  Express is absurd and without basis in fact.

  9.     Defendant Toeppen provided a large amount of information to
  WTIW reporter, and very little was quoted. Defendant Toeppen,s MSG
  statement in email to wfiw reporter is internally justified by the bullet
  points which follow that are all consistent with the idea of something being
  enhanced or amplified.

  10.   Defendant Toeppen's MSG statement was not a "dog whisfle,"
  coded racist statement, or overt racist statement. lt was an innocent
  idiomatic description of Plaintitf's actions.
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  I dectare   under penalty of perjury that the foregoing is true ano conea.'

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  Respectlulty submitted April 2r,zo1g by Defendant Toeppen, representing
  himsell and both of his businesses in his rote of sole stoci<holdeiand
  president of both.




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                           Exhibit A

                    Crisanti Photo WITH "MSG"
                                                                                -t
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                           Exhibit
                         Photo without I'MSG"
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                           Exhibit C
                           2016 MSG Email
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